      Case 1:13-cr-00097-SCJ-GGB Document 70 Filed 04/23/14 Page 1 of 2




                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION




 UNITED STATES OF AMERICA                        CRIMINAL CASE NO.
                     v.                          1:13-CR-97-1-JEC
 ANGELA PRATT AVERY



  REPORT AND RECOMMENDATION CONCERNING PLEA OF GUILTY1

      The defendant, ANGELA PRATT AVERY (“Defendant”), by consent, has

appeared before me and has entered a plea of guilty to COUNT SEVENTEEN (17)

of the Criminal Indictment filed on March 19, 2013. After cautioning and examining

the defendant under oath concerning each of the subjects mentioned in Rule 11, I

have determined that the guilty plea was knowing and voluntary, and that the plea

to the offense charged is supported by an independent basis in fact establishing each

of the essential elements of such offense. I have also determined that the defendant

understood and knowingly agreed to the limited waiver of appeal contained in her

plea agreement.


          1
            Failure to file written objections to this Report and Recommendation within
   FOURTEEN (14) DAYS after service of a copy of this Report and Recommendation shall bar an
   aggrieved party from attacking such report and recommendation before the assigned United
   States District Judge. 28 U.S.C. § 636(b)(1)(B).
     Case 1:13-cr-00097-SCJ-GGB Document 70 Filed 04/23/14 Page 2 of 2




     I, therefore, RECOMMEND that the plea of guilty be accepted and that the

defendant be adjudged guilty and have sentence imposed accordingly.

     SO ORDERED this      23rd    day of   April , 2014.




                                   GERRILYN G. BRILL
                                   UNITED STATES MAGISTRATE JUDGE




                                      2
